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 1   PHILLIP A. TALBERT
     Acting United States Attorney
 2   MICHAEL M. BECKWITH
     TODD A. PICKLES
 3   KEVIN C. KHASIGIAN
     Assistant U. S. Attorneys
 4   501 I Street, Suite 10-100
     Sacramento, CA 95814
 5   Telephone: (916) 554-2700

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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            2:15-CR-00235-TLN
12                  Plaintiff,
                                                          STIPULATION AND ORDER TO
13          v.                                            CONTINUE THE FORFEITURE HEARING
                                                          FROM DECEMBER 1, 2016 TO JANUARY
14   DUMITRU MARTIN,                                      26, 2017
15                  Defendant.
16

17          The United States and defendant Dumitru Martin hereby request the Court to continue the

18 forfeiture hearing from December 1, 2016 to January 26, 2017 at 9:30 a.m., to consolidate any forfeiture

19 hearing with Martin’s sentencing proceedings.

20          On August 31, 2016, Martin was found guilty of conspiracy to commit bribery and bribery of a

21 public official. Martin’s sentencing is currently scheduled for January 26, 2017 at 9:30 a.m. The United

22 States is seeking forfeiture of $100,000 wired to a U.S. Bank Account. The Court entered a Preliminary

23 Order of Forfeiture on September 22, 2016, forfeiting the interest of Martin’s co-defendants in this asset.

24          IT IS SO STIPULATED.

25 Dated: 11/3/16                                        PHILLIP A. TALBERT
                                                         Acting United States Attorney
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27                                                By:    /s/ Kevin C. Khasigian
                                                         KEVIN C. KHASIGIAN
28                                                       Assistant U.S. Attorney
                                                         1
                                                                                     Stipulation and Order to Continue
                                                                                     Forfeiture Hearing
               Case 2:15-cr-00235-TLN Document 218 Filed 11/04/16 Page 2 of 2



 1 Dated: 11/2/16                                      /s/ John Balazs
                                                       JOHN BALAZS
 2                                                     Attorney for Defendant
 3                                                     (Authorized by phone)
 4

 5                                                 ORDER
 6        Pursuant to the parties’ request, the Court makes the following order:
 7        The Forfeiture Hearing is hereby continued from December 1, 2016 to January 26, 2017 at
 8 9:30 a.m.

 9        IT IS SO ORDERED.
10 Dated: November 4, 2016
                                                             Troy L. Nunley
11                                                           United States District Judge
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                                                       2
                                                                                   Stipulation and Order to Continue
                                                                                   Forfeiture Hearing
